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Case 4:21-cr-06022-SAB ECF No. 17 _ filed 05/20/21 PagelD.21 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, No, 4:21-MJ-07108-MKD-2

Plaintiff,
ACKNOWLEDGMENT OF NOTICE

OF RIGHTS - CRIMINAL
EDUARDO REYES COMPLAINT

Defendant.

VS.

 

 

 

The undersigned defendant does hereby acknowledge: I appeared on this date

and was advised as follows:

1. Of the charge or charges placed against me, and I acknowledge receipt of
a copy of the Criminal Complaint;

2. Of the maximum penalty provided by law;

3. My right to remain silent at all times and if I make a statement it can be
used against me;

4. My right to retain my own counsel; and if [ am without funds, to have
counsel appointed to represent me in this matter;

5. My right to a jury trial before a United States District Judge. | am
entitled to be confronted by the United States’ witnesses and to have

witnesses attend on my behalf;

6. My right to a bail hearing, if 1 am in custody;

7. My right to have a preliminary hearing;

ACKNOWLEDGMENT OF NOTICE OF RIGHTS - Page 1

 
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Case 4:21-cr-06022-SAB ECFNo. 17 _ filed 05/20/21 PagelD.22 Page 2 of 2

8. My right, if] am not a United States citizen, to request a Government
attorney or law enforcement official notify my country’s consulate of my
arrest or detention.

5-20-21

Date:

 

 

Interpreter Signature

S/é Edhcrele Ka gS, Appeared Bloat? dl

 

 

 

Interpreter Printed Name Defendant Signature.

EDUARDO REYES

Defendant Printed Name

 

ACKNOWLEDGMENT OF NOTICE OF RIGHTS - Page 2

 
